Case 5:20-cv-01280-SVW-KK Document 165 Filed 10/26/21 Page 1 of 2 Page ID #:2439




    1
    2
    3
    4
    5
    6                              UNITED STATES DISTRICT COURT
    7                          CENTRAL DISTRICT OF CALIFORNIA
    8
    9 LETHIA DAVIS, INDIVIDUALLY                 Case No. 5:20-cv-1280 SVW (KKx)
      AND D/B/A BEAUTIFUL MINDS
   10 ENTREPRENEURSHIP PROGRAM                   Hon. Stephen V. Wilson
      AND BEAUTIFUL MINDS
   11 ENTREPRENEURSHIP, INC.
   12                 Plaintiff,                 JUDGMENT IN FAVOR OF
                                                 DEFENDANT AL GOHARY
   13            v.
   14 UNITED STATES SMALL
      BUSINESS ADMINISTRATION, et
   15 al.,
   16                 Defendants.
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

        00081398.1
Case 5:20-cv-01280-SVW-KK Document 165 Filed 10/26/21 Page 2 of 2 Page ID #:2440




    1                                 JUDGMENT
    2            Having granted Defendant Al Gohary's Motion for Summary Judgment
    3 (Docket No. 139) and Motion for Attorney's Fees (Docket No. 157), and having
    4 issued a separate Order setting the amount of attorney's fees awarded to Defendant
    5 Gohary, including sanctions against Plaintiff's Counsel, Michael S. Traylor (Docket
    6 No. 161), the Court hereby ORDERS, ADJUDGES AND DECREES as follows:
    7            1.   Judgment is hereby entered in favor of Defendant Al Gohary and
    8 against Plaintiff Lethia Davis, individually and d/b/a Beautiful Minds
    9 Entrepreneurship Program and Beautiful Minds Entrepreneurship, Inc.;
   10            2.   Plaintiff shall take nothing on her Complaint against Defendant Al
   11 Gohary; and
   12            3.   Defendant Gohary is awarded a total of $75,424.50 in attorney's fees.
   13 Of this amount, Attorney Michael Traylor is liable for $31,006 pursuant to 28
   14 U.S.C. § 1927, with the remainder ($44,418.50) owing from Plaintiff.
   15            IT IS SO ORDERED.
   16
   17    DATED: October 26, 2021

   18                                            Hon. Stephen V. Wilson
   19                                            United States District Judge

   20
   21
   22
   23
   24
   25
   26
   27
   28


        00081398.1                                1
